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 AO 442 (Rev. II/I I) ArrestR'arrant
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                                          UlvITED STATES DISTRICT COURT                                          ~.~::~ -
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                                                                 for the                                         .e:~~               a             j'~
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                                                     Eastern District of New York                                                    t;~►


                      United States of America
                                 v.                               )
                                                                            C~ 1g_ ~~~
                                                                           Case No.
            SALVADOR CIENFUEGOS ZEPEDA,                            ~
          also known as "EI Padrino" and "Zepeda,"                 ~                              COGAN, J.


                              r~fendanr
                                                 ------__
                                                                                   BULSARA:. M.J~
                                                     ARREST WARRANT
                                                                                          ~ ~~J~                            ~~~
 To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ojperson to be arrested) SALVADOR CIENFUEGOS ZEPEDA,also known as "EI Padrino" and "Zepeda"
who is accused of an offense or violation based on the following document filed with the court:

 C~ Indictment             O Superseding Indictment       O Information       D Superseding Information                 O Complaint

 O Probation Violation Petition            O Supervised Release Violation Petition      O Violation Notice              O Order ofthe Court

 This offense is briefly described as follows:
   International Heroin, Cocaine, Methamphetamine and Marijuana Manufacture and Distribution Conspiracy; Heroin,
   Cocaine, Methamphetamine and Marijuana Importation Conspiracy; Heroin, Cocaine, Methamphetamine and Marijuana
   Distribution Conspiracy; Conspiracy to Launder Narcotics Proceeds, all in violation of T. 21, U.S.C., §§ 841(b)(1)(A)(i), 841
  (b}(1)(A)(ii), 841(b)(1)(A)(vii), 841(b)(1)(A)(viii), 846, 853(a), 853(p), 959(d), 960(b)(1)(A), 960(b)(1)(B)(ii);96~(b~(1)(G),
  960(b)(1){H), 963, 970; T. 18 §§ 982(a)(1), 982(b)(1), 1956(h), 3238 and 3551 et seq.
                                                                                                                                                   O


 Date:         08/14/2019
                                                                                          Issuing of~et~s signature              _            --


 City and state:         Brooklyn, New York                                               Hon. Vera M. Sca~ion
                                                                       -------              Printed name and ti[!e                   -


                                                                Return

          This warrant was received on (dare)                           and the person was arrested on (dare)
3t (city and state)


I Date:
                                                                                         Arresting officer's sigrtatrae



                                                                                           Printed name and title
